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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WISCONSIN

    MATTHEW MCMILLAN, on behalf of             )
    himself and all others similarly situated, )
                                               )
                          Plaintiff,           )
                                               )           Case No.: 3:20-cv-00319
    vs.                                        )
                                               )
    STUBHUB, INC., a Delaware Corporation, and )           Honorable _________________
    LAST MINUTE TRANSACTIONS, INC., a          )
    Delaware Corporation,                      )
                          Defendants.
                          CLASS ACTION COMPLAINT AND JURY DEMAND

                                             INTRODUCTION


               “StubHub said they’d refund canceled tickets, but now they’re taking that back –
                           StubHub is here for you. Unless you want a refund.” 1

          1.        Plaintiff Matthew McMillan (“Plaintiff”), by and through his counsel, files this Class

Action Complaint against Stubhub, Inc., and Last Minute Transactions, Inc. (collectively “Defendants”

or “StubHub”), on behalf of himself and on behalf of a class of similarly situated individuals, and

alleges, upon personal knowledge as to his own actions, and upon information and belief as to all other

matters, as follows:

                                        NATURE OF THE ACTION

          2.        In the midst of the greatest public health and economic crisis in living memory,

Defendants, which constitute a four-billion dollar enterprise, have sought to surreptitiously shift their

losses onto their innocent customers, furthering the financial hardship endured by people across the

country. Adding insult to injury, Defendants repeatedly claim to be doing this for the benefit and/or

convenience of their now-disgruntled customers and refuse to take responsibility for the hardships that




1
 SBNation.com. March 28, 2020 (https://www.sbnation.com/2020/3/28/21198101/stubhub-refunds-
canceled-event-ticket-nhl-nba-concerts) (last visited April 2, 2020).

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they have created.

       3.      Defendants own and operate the world’s largest “secondary market” for event tickets.

The market operates primarily through Defendants’ website, www.Stubhub.com (the “Website”).

       4.      On the Website, sellers list tickets for sale to events such as sporting contests, theater

shows, concerts, music festivals, and comedy shows. Buyers can find these listed tickets and purchase

them directly though the Website. Defendants charge fees to both the buyers and sellers for their

services.

       5.      Plaintiff brings this action on behalf of himself and a class of similarly situated

individuals who were deprived of the benefit of Defendants’ longstanding “FanProtect” guarantee

when, in response to apparent liabilities it would incur stemming from the COVID-19 pandemic,

Defendants sought to retroactively discontinue the essential function of FanProtect, a cash refund.

       6.      Defendants have quietly sought to force their buyers to endure the financial losses that

Defendants’ own guarantee created for Defendants in the entirely foreseeable scenario that world

occurrences would cause the simultaneous cancellation of numerous public events.

       7.      Instead of instituting responsible financial transaction policies, Defendants made it their

practice to pay ticket sellers before the event had occurred, exposing themselves to the possibility that

they would be left holding the bag (or have to ignore their own guarantee and cheat their customers) if

an event was cancelled and they could not promptly collect from sellers.

       8.      Defendants’ uniform conduct is equally applicable to the class. Plaintiff brings this class

action against Defendants for: (1) breach of contract; (2) conversion; (3) negligent misrepresentation;

(4) violations of California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq.; (5)

violations of the unlawful prong California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200,

et seq. (the “UCL”); (6) violations of the unfair prong of the UCL; and (7) violations of California’s

False Advertising Law Cal. Bus. & Prof. Code § 17500, et seq. (the “FAL”). Plaintiff seeks an order

requiring Defendants to, among other things: (1) reverse the unlawful changes they have sought to


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make to their refund policy as it relates to tickets purchased prior to March 30, 2020; (2) prohibit

Defendants from issuing coupons in lieu of refunds to any Class member who has not requested

coupons; and (3) pay damages and restitution to Plaintiff and Class members.



                                    JURISDICTION AND VENUE

        9.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2). The

amount in controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000 and is

a class action in which there are numerous class members who are citizens of states different from

Defendants. The number of members of the proposed class is in the aggregate greater than 100 and

more than two-thirds of the class members reside in states other than the state in which Defendants are

citizens.

        10.      This Court has personal jurisdiction over Defendants because they conduct significant,

substantial, and not-isolated business activities in Wisconsin and a substantial portion of the acts

complained of took place in Wisconsin.

        11.      Venue is proper in the Western District of Wisconsin because Defendants conduct

business in this District and many of the events that gave rise to Plaintiff’s claims occurred in this

District.

                                               PARTIES

        12.      Plaintiff Matthew McMillan is an individual and a citizen of Wisconsin.

        13.      Defendant Stubhub, Inc. is a Delaware corporation with its principal place of business

located in San Francisco, California.

        14.      Defendant Last Minute Transactions, Inc. is a Delaware Corporation and a subsidiary

and/or ”affiliate” of Stubhub, Inc., with its principal place of business located in San Francisco,

California. Along with StubHub, Inc., Last Minute Transactions, Inc. is a party to StubHub’s

contractual agreement with its users.



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                                    FACTUAL ALLEGATIONS

       15.      For years, in the process of building a marketplace in which consumers would be

comfortable paying substantial prices, often beyond face-value, for event tickets from strangers on the

internet, StubHub relied on its FanProtect guarantee, which was incorporated into its various user

agreements and heavily marketed to prospective customers.

       16.      Until March 25, 2020, the FanProtect guarantee promised that if a StubHub user

purchased tickets to any event through Stubhub, and the event was cancelled, the user would receive a

full, money-back refund for their purchase.

       17.      StubHub has advertised the FanProtect guarantee heavily in internet and other media,

including on its own Website and partner websites.

       18.      Largely because of the guarantee, StubHub’s users have been willing to pay premium

prices for tickets and pay substantial fees directly to StubHub. A major component of StubHub’s value

is that refunds would be available for cancelled events and/or tickets that otherwise did not grant entry

to a given event.

       19.      In fact, in testimony given in February of 2020 to a United States House of

Representatives subcommittee, StubHub’s Vice President and General Counsel testified that

“StubHub’s FanProtect guarantee is the hallmark of our business and why we have earned the trust

of fans around the globe.”

       20.      In early March, 2020, as the CODVID-19 pandemic spread, it became apparent that

StubHub was looking for ways to avoid the liabilities its FanProtect guarantee would create for it in the

event of mass-cancellations, and to pass the burden of those cancellations onto its customers.

       21.      On or about March 12, 2020, StubHub sent its users an e-mail entitled “Coronavirus

Update: We have your back[.]” The e-mail was addressed from and bore the signature of Sukhinder

Singh Cassidy, StubHub’s President. In it, StubHub insisted that refunds were still available for

cancelled events but offered coupons for 120% of the original order price as an alternative.


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       22.      The March 12 e-mail stated “Dear [User], As a valued StubHub customer, I am

personally reaching out to you regarding the current Coronavirus situation. We know it’s an unsettling

time for everyone and our hearts go out to those impacted…StubHub is here for you… If you buy

tickets on StubHub to an event that is canceled, you have the option to receive a coupon worth 120%

of your original order to go to the live event of your choosing within the next 12 months. Alternatively,

you can choose to receive a full refund for the original order amount (including service and delivery

fees) to the original payment method.”

       23.      On March 25, 2020, without delivering a corresponding e-mail to all users, StubHub

changed the terms of its FanProtect guarantee on its website, now stating that “if the event is canceled

and not rescheduled, you will get a refund or credit for use on a future purchase, as determined in

StubHub’s sole discretion (unless a refund is required by law).”

       24.      Other StubHub communications made clear that no refunds would be offered, noting

that in the event of a cancellation “[w]e’ll give you a coupon worth 120% of your original order. You

can apply this coupon toward multiple StubHub events in the same currency. It is valid for 1 year.”

Another communication, signed by Sukhinder Singh Cassidy, states without explaining the departure

from prior assurances “When an event is canceled, you will receive a StubHub coupon worth 120% of

your original order. For your convenience, we will directly add it to your StubHub account once the

event is canceled.”

       25.      Remarkably, Ms. Cassidy had the temerity to explain that the theft of customers’

money, which would be replaced only with unwanted coupons for unspecified events that may never

happen given the uncertain state of the next 12 months, was being done for their “convenience[.]”

       26.      Reports suggested that while StubHub is refusing to pay refunds to customers, it is not

passing those “savings” onto the ticket sellers, who have in many or all instances been backbilled for

the cancelled events.

       27.      On March 27, 2020, in response to outrage about the purported policy changes, StubHub


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tweeted that “[w]e appreciate our fans & want to create an offer of value given the difficult

circumstances. To thank fans for their patience we are offering 120% credit. We will continue to

provide refunds to buyers where required by law. This model is common practice in a number of

industries.”

       28.      On March 30, 2020, StubHub finally sent an email, addressed from Ms. Cassidy, that

directly informed its customers of the suspension of the longstanding refund policy. Rather than taking

responsibility for its contractual obligations, StubHub through its President stated:

       We’ve worked hard to create a platform that serves both buyers and sellers as a trusted
       marketplace. As a convenience to buyers, acting as an intermediary, we’ve historically
       made the decision to refund them before collecting money from the seller. We’ve also
       historically offered sellers more convenience by paying them for ticket sales on our
       platform before events actually happen. Under normal circumstances, these
       processes are manageable.

       Given the impact of the coronavirus, it is not possible to sustain this practice in the
       near-term. We are facing significant timing delays in recouping funds from the thousands
       of sellers on our platform, and expect these challenges to continue in the coming months.
       At the same time, buyers expect immediate refunds. As a result, we’ve enacted new
       policies in the US and Canada that we believe are clear and fan-first.

       …

       We were the first in our industry to begin offering customers 120% credit for the canceled
       purchases as a thank you for remaining patient in a very challenging period. In the first
       two weeks of offering this option, approximately 70% of customers opted to receive this
       additional future value. Recently, we announced this as our standard policy for
       canceled events, with refunds available in jurisdictions where they are required.
       Coupons can be applied to one or multiple StubHub orders in the same currency. If your
       order is less than your coupon value, you can use the remainder on another event.

(emphasis added).

       29.      StubHub’s users have not at all agreed when being told yet again that this theft of their

money was undertaken for their benefit or convenience. Their outraged responses to StubHub’s March

27 tweet include:

        “Stubhub is clearly showing they don’t give a [expletive] about the customer”

       “Well, you're stealing money from fans who purchased in good faith. My money spends
       well for much longer than the year expiration you place on your coupon. Crisis brings out
       the scammers[]”

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       “I ordered my tickets well before this policy… I won’t be able to go so I want my money”
       “I don’t want a credit… I want my money back [and] the event is cancelled!! Y’all are
       [expletives]”

        “See you in court scumbags. I’m getting my cash back regardless”

       “Cash doesn’t have an expiration date so why does the useless refund coupon?”

       “You should REALLY appreciate your customers and give them their money back in
       these tough economic times. Frankly, your COUPON policy is utter [expletive] and you
       should be ashamed.”

       “I don’t want your [expletive] 120% credit. I want my [expletive] money back.”

       “You guys act like you can’t weather this [expletive] storm like the rest of America.”

       “Dont try and pull your bull [expletive] by saying this is common law or practice. Most
       companies in your field are offering full refunds for the extenuating circumstances. You
       guys chose to be greedy and not consider your customers. Thank you for showing your
       true colors.”
                     StubHub’s User Agreement and The FanProtect Guarantee

       30.      StubHub’s website contains terms of service including a Global User Agreement and

the FanProtect Guarantee. Various iterations of the terms have purported to bind users to them through

assent when creating an account and/or with language substantially similar to the following: “By

accessing or using our Site, You agree to be bound by this StubHub Marketplace Global User

Agreement.”

       31.      Each version of Defendants’ User Agreements (including the version of Defendants’

User Agreement that applies to the claims in this case) have explicitly incorporated the FanProtect

guarantee into their terms as part of Defendants’ “Additional Policies.”

       32.      Defendants purport to retain the right to make changes to the User Agreement by

“notify[ing] you by posting a revised version on our site and emailing you at your registered email

address or otherwise notifying you via our site.”

       33.      Separately, Defendants purport to retain the right to make changes to the Additional

Policies “without prior notice and your continued use of the Site or Service constitutes your acceptance
of the modified terms of the Additional Policies.”




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       34.      Defendants provide yet a third set of criteria for amending their Agreement to Arbitrate 2,

which states that “[w]e will notify you of amendments to the Agreement to Arbitrate by posting the

amended terms on http://www.StubHub.com at least thirty (30) days before the effective date of the

amendments and by sending notice to your email address on file with us.”

       35.      Defendants user agreements purport to bind the user to the agreement with both of the

named Defendants.

       36.      The operative version of the FanProtect guarantee, and the guarantee that had been in

place until Defendants’ sudden reversal, stated plainly that “[y]ou will be refunded if the event is

cancelled and is not rescheduled.”

       37.      The term “[y]ou will be refunded if the event is cancelled and not rescheduled[]” is part

of the contracts between Plaintiff and the Class on one hand and Defendants on the other.

       38.      The modified version that Defendant now seeks to force upon Plaintiff and the Class

states that “[i]f your event is canceled and not rescheduled, you will receive a coupon equal to the value

of your original order.”

       39.      A section of the operative version of Defendants’ User Agreement which purports to

limit Defendants’ liability expressly leaves in place liability created by the FanProtect guarantee, stating

“to the maximum extent permitted by applicable law and except as specifically provided in this user

agreement and in our FanProtect guarantee, we disclaim all warranties…”

       40.      The version of Defendants’ User Agreement that applies to the claims in this case does

not contain a valid binding agreement to arbitrate their claims.

       41.      The version of Defendants’ User Agreement that applies to the claims in this case

contains a choice-of-law provision requiring the application of California law to any disputes covered

by the agreement. Defendants continue to represent that they will give actual refunds to customers in

states where it is required by law. Upon information and belief, Defendants mean this to include

California, Connecticut, Florida, Hawaii, Iowa, Maryland, Massachusetts, Minnesota, New Jersey,

New York, Ohio, Rhode Island, Utah, and Virginia. But under Defendants’ own terms and California


2
  The version of the Agreement to Arbitrate that would otherwise apply to the claims of Plaintiff and
the Class is not valid or enforceable.

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law, Defendants are required to provide these refunds everywhere.

       42.      Defendants’ wrongful acts and omissions occurred in California and were carried out

and directed from Defendants’ California headquarters by California personnel over California

technological infrastructure.

                                Defendants’ Self-Imposed Liquidity Crisis

       43.      As noted herein, Defendants’ procedure for paying sellers for tickets before the event

had occurred created an apparent shortage of operational cashflow for it, rendering it unable to honor

its contractual obligations.

       44.      Despite having recently been acquired for over 4 billion dollars, instead of obtaining
liquidity to weather the storm, Defendants sought to simply pass its losses on to its clients.

       45.      As noted by one media outlet in describing its “liquidity crisis,” “Stubhub and

competitor sites like Vivid Seats and Gametime allow brokers to collect proceeds from the sale of

tickets after the transaction, instead of waiting until the event or concert took place. Anticipating a

massive influx of requests for refunds, Stubhub has changed how brokers are paid …And instead of

refunds, buyers of tickets for canceled events will now be given a credit on Stubhub for 120% of the

original ticket, according to an email from a company representative. Only when “‘required by law, we

will provide refunds to buyers,’ the spokesperson explained.” 3

       46.      As noted in the March 30, 2020 e-mail, Defendants’ prior practice was to pay sellers at

the time of ticket delivery while still offering refunds to buyers when an event was cancelled.

Defendants would then attempt to recoup the refunds from sellers.

       47.      Contrary to Ms. Cassidy’s representation in the March 30 e-mail, these refunds were not

offered as a “convenience” to buyers, but rather were a key component of the contract between StubHub

and its buyers, and the underlying feature of the heavily-advertised FanProtect guarantee. These refunds

were not courtesies, they were and remain contractual obligations.

       48.      As a result of Defendants’ abrupt and illegal about-face, at least tens-of thousands of



3
  Billboard.com, “Amid Stubhub Layoffs & Liquidity Crisis, Ticket Brokers Push for a Bailout” (Mar.
26, 2020) https://www.billboard.com/articles/business/touring/9344129/stubhub-layoffs-liquidity-
ticket-brokers-bailout (last visited April 1, 2020).

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their customers have been and/or will be cheated out of refunds to which they are legally entitled for

thousands of different events.

                                      Plaintiff’s Use of StubHub

       49.     Plaintiff McMillan created a StubHub account prior to June of 2017.

       50.     On June 1, 2017, StubHub notified Plaintiff McMillan by e-mail of an updated version

of its User Agreement that would come into effect on July 1, 2017.

       51.     In early March 2020, Plaintiff McMillan purchased two tickets to the March 20, 2020

National Hockey League (“NHL”) game between the Winnipeg Jets and the Minnesota Wild. He paid

approximately $120 dollars for the tickets.
       52.     On March 12, 2020, the NHL suspended its season. While the remaining games,

including the game for which Plaintiff McMillan purchased tickets through StubHub, could

conceivably be rescheduled it remains all but a certainty that those games will be cancelled.

       53.     After games were suspended, Plaintiff McMillan called StubHub’s customer service,

who told him that no refund of any kind could be issued because the game had not yet been technically

cancelled, only postponed.

       54.     StubHub’s website, however, places NHL games in a different category than those

which have been postponed and will be rescheduled. It refers to those games as “Events Under Review.”

       55.     Mr. McMillan now holds tickets to this game that has been effectively cancelled, will

almost certainly be cancelled, and which he bought with a guarantee of a monetary refund for

cancellation. But under StubHub’s new policy without legal intervention, he will only be provided a

coupon which expires within 12 months and not the refund to which he is entitled.
                                      CLASS ALLEGATIONS

       56.     Plaintiff brings this class action under Rule 23 and seek certification of the claims and

issues in this action pursuant to the applicable provisions of Rule 23. The proposed class is defined as:


       All persons residing in the United States or its territories who opened StubHub accounts
       before October 1, 2018 and used StubHub to purchase tickets to any event which was
       subsequently canceled or is canceled at any point from March 25, 2020 until the date
       that notice of this class action is disseminated to the Class, and to whom Defendants
       have not provided a refund. Excluded from the Class are (a) any person who has
       specifically requested a coupon in lieu of a refund; (b) all persons who are employees,


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       directors, officers, and agents of either Defendant; (c) governmental entities; and (d)
       the Court, the Court’s immediate family, and Court staff.

       57.     Plaintiff reserves the right to amend or modify the Class definitions with greater

specificity or division into subclasses after having had an opportunity to conduct discovery.

       58.     Numerosity. Fed. R. Civ. P. 23(a)(1). StubHub has stated that there are at least 23,000

events in the United States which have been cancelled, postponed, or rescheduled, and StubHub

facilitates ticket sales to the vast majority of events in the United States to its more than 16 million

users. At a minimum, there are tens of thousands of Class Members but very likely many more. The

exact size of the proposed class and the identity of all class members can be readily ascertained from

Defendants’ records.
       59.     Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of law and fact

common to the class, which questions predominate over any questions affecting only individual class

members. Common issues include:

               a.      Which version of Defendants’ user agreement governs purchases made prior to

March 25 and/or March 30, 2020;

               b.      Whether Defendants’ user agreement contains a valid agreement to arbitrate

claims and/or class action waiver;

               c.      Whether or the extent to which Defendants’ statements and representations

regarding the FanProtect guarantee are or constituted misrepresentations’

               d.      Whether Defendants’ failure to issue promised refunds constitutes a breach of

contract and/or conversion;

               e.      Whether Defendants knew or should have known that in the event of widespread

event cancellations they would be unable to honor their FanProtect guarantee;

               f.      Whether Defendants’ conduct is violative of the CLRA;

               g.      Whether Defendants’ conduct is unfair or unlawful in violation of the Unfair

Competition Law, California Business and Professions Code §17200, et seq.;

               h.      Whether Defendants’ conduct constitutes untrue or misleading statements within

the meaning of California Business and Professions Code § 17500, et seq.;

               i.      The nature of the relief, including equitable relief, to which Plaintiff and the class

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are entitled.

        60.      Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of the

Class he seeks to represent. Plaintiff and all Class members were exposed to uniform practices and

sustained injuries arising out of and caused by Defendants’ unlawful conduct.

        61.      Adequacy of Representation.        Fed. R. Civ. P. 23(a)(4).      Plaintiff will fairly and

adequately represent and protect the interests of the members of the Class. Further, Plaintiff’s counsel

is competent and experienced in litigating class actions.

        62.      Superiority. Fed. R. Civ. P. 23(b)(3). A class action is superior to any other available

means for the fair and efficient adjudication of this controversy. The claims of Plaintiff and individual
class members are small compared to the burden and expense that would be required to separately

litigate their claims against Defendants, and it would be impracticable for class members to seek redress

individually. Litigating claims individually would also be wasteful to the resources of the parties and

the judicial system and create the possibility of inconsistent or contradictory judgments. Class

treatment provides manageable judicial treatment which will bring an orderly and efficient conclusion

to all claims arising from Defendants’ misconduct. Class certification is therefore appropriate under

Rule 23(b)(3).

        63.      Class certification is also appropriate under Rule 23(b)(1), as the prosecution of separate

actions by individual members of the class would create the risk of adjudications with respect to

individual class members that would, as a practical matter, be dispositive of the interests of other

members not parties to the adjudication and substantially impair their ability to protect those interests.

        64.      Class certification is also appropriate under Rule 23(b)(2), as Defendants have acted

and/or refused to act on grounds generally applicable to the class, thereby making final injunctive relief

or corresponding declaratory relief appropriate for the class.
                                      FIRST CAUSE OF ACTION

                                  Breach of Contract – California Law

                                          Against Each Defendant

        65.      Plaintiff incorporates all preceding factual allegations as if fully set forth herein.

        66.      A contract was formed between Plaintiff and Class members on the one hand and



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Defendants on the other with respect to purchases made on Defendants’ Website.

         67.      The contract was offered by Defendants and formed at the time Plaintiff and the Class

accepted it by creating their accounts. It was effectively modified most recently in July of 2017 after a

June, 2017 notification to customers.

         68.      The contract that governs the transactions at issue in this case includes the User

Agreement and FanProtect guarantee that were operative as of July 1, 2017.

         69.      Plaintiff and the Class performed their obligations under the contract.

         70.      Defendants breached the contract when they ceased providing refunds to cancelled

events as required under its terms.
         71.      Defendants’ breaches were willful and not the result of mistake or inadvertence.

         72.      As a result of Defendants’ breach of the FanProtect Guarantee, Plaintiff and other Class

members have been damaged in an amount to be determined at trial.

                                      SECOND CAUSE OF ACTION

                                        Conversion – California Law

                                           Against Each Defendant

         73.      Plaintiff incorporates all preceding factual allegations as if fully set forth herein.

         74.      From the moment of cancellation, Plaintiff and the Class owned and had a right to

possess funds in the amount that they paid for tickets to events that were cancelled.

         75.      Defendants intentionally and substantially interfered with property belonging to

Plaintiff and the Class by taking possession of it, refusing to refund it to Plaintiff, preventing Plaintiff

and the Class from having access to it, and/or refusing to return it to Plaintiff after a demand was made

for its return.

         76.      Plaintiff and the Class did not consent to Defendants’ conduct in withholding their

funds.

         77.      Plaintiff and the Class were harmed by Defendants’ conduct.

         78.      The conduct of each Defendant was a substantial factor in causing this harm to Plaintiff

and the Class.

         79.      As a result of Defendants’ conduct, Plaintiff and other Class members have been



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damaged in an amount to be determined at trial.

                                    THIRD CAUSE OF ACTION

                           Negligent Misrepresentation – California Law

                                        Against Each Defendant

       80.     Plaintiff incorporates all preceding factual allegations as if fully set forth herein.

       81.     Defendants represented to Plaintiff that a fact was true; namely, that if they purchased

tickets through the Website, they would be able to get a refund if that event was cancelled.

       82.     Defendants’ representation was not true.

       83.     Even if Defendants believed that the representation was true they had no reasonable

grounds for believing that it was true when they made it given the potential for widespread cancellations

due to any number of foreseeable circumstances.

       84.     Defendants intended that Plaintiff and the Class would rely on their representation so

that they would use the Website to purchase tickets.

       85.     Plaintiff and the Class reasonably relied on Defendants’ representations in using and

making purchases on the Website.

       86.     Plaintiff and the Class were harmed.

       87.     Plaintiff’s, and the Class’ reliance on Defendants’ representations was a substantial

factor in causing their harm.

       88.     As a result of Defendants’ misrepresentation(s), Plaintiff and other Class members have

been damaged in an amount to be determined at trial.
                                   FOURTH CAUSE OF ACTION

             Violation of Consumers Legal Remedies Act – Civil Code § 1750, et seq.

                                        Against Each Defendant

       89.     Plaintiff incorporates all preceding factual allegations as if fully set forth herein.

       90.     This cause of action is brought pursuant to the Consumers Legal Remedies Act,

California Civil Code § 1750, et seq. (the “CLRA”) because Defendants’ actions and conduct described

herein constitute transactions that have resulted in the sale or lease of goods or services to consumers.

       91.     Plaintiff and each member of the Class are consumers as defined by California Civil



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Code §1761(d).

       92.     The tickets at issue herein are Goods within the meaning of Civil Code §1761(a) and

Defendants’ services are Services within the meaning of Civil Code §1761(b).

       93.     Defendants violated the CLRA in at least the following respects:

               a.      In violation of Civil Code section 1770(a)(5), Defendants, by use of the untrue

or misleading statements set forth and alleged in this complaint, represented that goods and/or services

have characteristics or benefits which they do not have;

               b.      In violation of Cal. Civ. Code § 1770(a)(9), Defendants advertised its goods

and/or services with the intent not to sell them as advertised (because it was obvious that under certain
circumstances Defendants would not be able to honor its FanProtect guarantee).

               c.      In violation of Cal. Civ. Code § 1770(a)(14), Defendants represented that a

transaction involves rights, remedies, and/or obligations which it does not have or involve.

               d.      In violation of Cal. Civ. Code § 1770(a)(16), Defendants represented that the

subject of a transaction has been supplied in accordance with a previous representation (that refunds

would be available) when it was not.

       94.     Defendants knew, or should have known, that their representations and advertisements

about the FanProtect guarantee were false or misleading.

       95.     On or about the date of filing this action, Plaintiff notified Defendants in writing, by

certified mail, of the violations alleged herein and demanded that Defendants remedy those violations.

       96.     Plaintiff presently seeks only injunctive relief under this count. If Defendants fail to

remedy the violations alleged herein within 30 days of receipt of Plaintiff’s notice, Plaintiff will amend

this Complaint to add claims for actual, punitive, and statutory damages pursuant to the CLRA.

       97.     Defendants’ conduct is malicious, fraudulent, and wanton in that Defendants

intentionally and knowingly provided misleading information to the public.
                                    FIFTH CAUSE OF ACTION

          Unlawful Business Practices In Violation of Bus. & Prof. Code § 17200, et seq.

                                        Against Each Defendant

       98.     Plaintiff incorporates all preceding factual allegations as if fully set forth herein.



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       99.      Defendants’ conduct constitutes unlawful business acts or practices under California’s

Unfair Competition Law, California Business & Professions Code § 17200, et seq. (the “UCL”).

       100.     Defendants’ business practices are unlawful because, as detailed above, they constitute

(1) a breach of the contract between Plaintiff and Class members on the one hand and Defendants on

the other, (2) violations of the CLRA, (3) conversion; and/or (4) negligent misrepresentations.

       101.     As a result of Defendants’ unlawful business acts and practices, Plaintiff and other Class

members have suffered injury in fact and lost money or property.

       102.     Plaintiff requests that the Court issue sufficient equitable relief to restore Class members

to the position they would have been in had Defendants not engaged in unlawful business practices
and/or unfair competition, including by ordering restitution of all funds that Defendants may have

acquired as a result of these practices and an injunction prohibiting further denials of refunds.

                                     SIXTH CAUSE OF ACTION

             Unfair Business Practices In Violation of Bus. & Prof. Code § 17200, et seq.

                                         Against Each Defendant

       103.     Plaintiff incorporates all preceding factual allegations as if fully set forth herein.

       104.     The UCL proscribes unfair business acts or practices.

       105.     A business act or practice is “unfair” under the UCL if the reasons, justifications and

motives of the alleged wrongdoer are outweighed by the gravity of the harm to the alleged victims. A

business act or practice is also “unfair” under the UCL if Defendants’ conduct practice is immoral,

unethical, oppressive, unscrupulous or substantially injurious to consumers. A business act or practice

is also “unfair” under the UCL where the consumer injury is substantial; the injury is not outweighed

by any countervailing benefits to consumers or competition; and the injury is one that consumers

themselves could not reasonably have avoided.

       106.     Defendants’ conduct as detailed herein constitutes unfair business acts and practices.

       107.     Defendants enticed Plaintiff and the Class to use their services by representing that their

purchases were protected by the FanProtect guarantee which would issue refunds in the event of

cancellations, but no such refunds would be issued.

       108.     Defendants charged fees in exchange for providing the FanProtect guarantee but the



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guarantee was largely and ultimately illusory.

       109.    Plaintiff and other Class members had no way of reasonably knowing that Defendants

were charging them for a service that they would not honor or that they would be denied refunds that

they were entitled to.

       110.    The consequences of Defendants’ conduct as detailed herein outweigh any justification,

motive or reason for Defendants’ conduct. Defendants’ conduct is and continues to be unlawful,

immoral, unethical, oppressive, unscrupulous and substantially injurious to Plaintiff and members of

the Class. Defendants’ conduct has caused substantial injury to Plaintiff and other Class members, that

injury is not outweighed by any countervailing benefits to consumers and Plaintiff and Class members
could not have avoided such injury.

       111.    As a result of Defendants’ unfair business acts and practices, Plaintiff and other Class

members have suffered injury in fact and lost money or property. Plaintiff requests that the Court issue

sufficient equitable relief to restore Class members to the position they would have been in had

Defendants not engaged in unfair competition, including by ordering restitution of all funds that

Defendants may have acquired as a result of these practices and an injunction prohibiting further denials

of refunds.

                                   SEVENTH CAUSE OF ACTION

                False Advertising In Violation of Bus. & Prof. Code § 17500, et seq.

                                        Against Each Defendant

       112.    Plaintiff incorporates all preceding factual allegations as if fully set forth herein.

       113.    Beginning at an exact date unknown to Plaintiff, but in any event within three years of

the filing of this action case, and continuing to March 30, 2020, Defendants, with the intent to perform

services, or to induce members of the public to enter into obligations relating thereto, made or

disseminated or caused to be made or disseminated before Plaintiff and the putative class statements

concerning such services, or matters of fact connected with the performance thereof, which were untrue

or misleading, and which Defendants knew or reasonably should have known were untrue or

misleading, in violation of Business and Professions Code section 17500, et seq. Such statements

include but are not limited to all of the representations set forth and discussed in the previous paragraphs



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of this complaint, all of which are incorporated herein by this reference.

                                      REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the class of similarly situated individuals,

requests the Court to:

       (a)      Certify the case as a class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, designate Plaintiff as representative of the class and designate counsel of record as class

counsel;

       (b)      Order Defendants to provide actual damages and equitable monetary relief (including

restitution) to Plaintiff and class members and/or order Defendants to disgorge profits they realized as

a result of their unlawful conduct;

       (c)      Order Defendants to pay punitive damages, as allowable by law, to Plaintiff and class

members;

       (d)      Order Defendants to pay statutory damages, as allowable by the statutes asserted herein,

to Plaintiff and class members;

       (e)      Declare Defendants conduct unlawful and enter an order enjoining Defendants from

continuing to engage in the conduct alleged herein;

       (f)      For both pre and post-judgment interest at the maximum allowable rate on any amounts

awarded;

       (g)      For costs of the proceedings herein;

       (h)      For reasonable attorneys’ fees as allowed by statute; and

       (i)      Award such other relief as the Court deems appropriate under the circumstances.



DATED: April 2, 2020                                         Respectfully submitted,


                                                             LIDDLE & DUBIN, P.C.

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                                        Class




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